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       "u%-ITED STATES DISTKICT COURT FOR THE
            NOWTHEIPN DHSTRTGT OF FLORIDA




            CIVIL RIGHTS COMPLAINT FORM
                  28 U.S.G. 1331 OR 1346
           42 U.S.C. 1983 ATui BIVENS ACTION



Myra Catherine Solliday
#28076-004
           Plaintiff,




                                           Case No.: 4:07cv353-RHlWCS

                                                 Jury Trial Demanded




  1. Federal Prison Guard, L.Spence,
  2. Federal Prison Guard, 6.Dixen,
  3. Federal Prison Guard, J. Knight,
  4. FCI Tallahassee Warden, Ms. Rivem,
  5. FCI Ta?lahassee Captain: Mr. Horton;
                                                         OFFICE 2.F TI.EBK
  6. Director of Bureau of Prison, Harley B. Lappin,      !J'S. ,.,           ~ : t .s?.-
                                                                   L c, <2, !.r..,    .,! ~ $ 1 .   A-..

  7. SIS Investigator, George iVilliams                -.,.,.....
                                                              :... , ~
                                                       :,, .~. ~
                                                       ~            ~  .., ..~
                                                                           L, ;;;jsy,
                                                                                    ~ ;F:
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                                                                                                           A
                                                                                                               ? , , ;
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 m a Catherine Solliday
 #28076-004
 FCI Dtlblin
 5701 8 [ 9 t . Camp Parks
 Dublin. C k 94568


11.       DEFENDANTS:


 1) Levon E. Spence                   7)   George Williams
    Former Prison Guard                    SIS Investigator,
    FCI Tallahassee                        501 Capital Circle hT
                                           Tallahassee: FL 32301
2) G. Dixen
   Former Prison Guard
   FCI Tallahassee

3) J. Knight
   Former Prison Guard
   FC4 Tallahassee

4) &Is. Rivera,
   Former Warden
   FCI Tallahassee

5) Mr. Borton,
   F o m r Captain
   FCI Tallahassee

6) Harley B. Lippin,
   Director o f the
   Burem of Prisons
   320 First Street NW
   Washington, DC 20534
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 111.       EXN-WSTION OF ADMINSTRATNE REMEDIES
Plaintiff has exhausted all of the administrative remedies available to her.
N.          PREVIOUS LAWSUITS
        A. Have you initiated other actions in state cowt dealing with the same or similar
           factslissues involved in this action?
                           Yes ( )           No (X)
        B. Have you initiated other action in federal court dealing with the same or similar
            facts/issues involved in this action?
                           Yes ( X )                 No(
                 1. Parties to previous action:
                           a. Plaintiff(s):                   Mwa Catherine Solliday
                           b. Defendant(s):                   FCI Tallahassee
                2. District and judicial division:             Southern District of Florida
                3. Name of Judge:                             Donald Graham Case#:
                4. Approximate filing date:                   Noven~ber30.2006
                5 . Date of dismissal:                        Between March and May 2007
                6. Reason for dismissal:                      Improper filine
                7. Facts and claims of case:                  Requesting infomation
                    -being              placed in the Suecial HousingJJnit under
                    investigation.
           a. Have you initiated other actions (besides those listed above in Questions (A) and
                iB11
                ~   ,, in either state or federal COG  that relate to the fact or manner of your
                incarceration (including habeas corpus petitions) or the conditions of your
                confinement (including civil rights complaints about any aspect        of prison life:
                                                         a                 ~      -

                whether it be kenera1 circumstances or particular episode, and whether it
                involved excessive force or some other wrong)?
                           Yes ( X )                No( )
                1. Parties to previous action:
                           a. Plaintiff(s):
                           b. defendant:^):                   F_CI Tallahassee
                2. District and judicial division:            Forthem District of Florida
                3. Name of Judge:                             R. Hinkle Case #:
               1.Approximate filing date:                     A ~ r i or
                                                                      l May 2006
                5. Date of dismissal:                         Sept. or AUE.2006
                6. Reason for dismissal:                     Transfered to FDC Miami
               7. Facts and claims of case:                  Reourstine inform-
                    concerning being placed in the Special Housing Unit under
                    investigation.
           b. Have you ever had any actions in federal court dismissed as ffivolous, malicious,
               failins to state a claim, or prior to service? If so, identify each and every case so
               dismissed:
                                   Yes ( )          No (X)
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V. STATEMENT OF FACTS:

  7) In Sept. of 2003, or Sept. of 2004, oficer Spence entered my room and called me down

      stairs to his office. ' m e n I entered the office he embraced me and kissed me. He then

      locked the door, when he c a n e back he began kissing me. This took place after months

      of him telling me how much I meant to him, and how peaceful and good he could make

      my life there. He then pressed me against the wall and pulled my shorts down. I'm

      ashamed to say that he had sex with me. Aftemard, he stated that he hoped he did not

      get any "semen" on me. He then went into his office. I pulled my shorts up; and by the

      time I walked around the door to his ofice, he was holding a large pack of chewing gum

      that he handed me. I was dumbfounded, he took several pieces out and gave them to me.

      He then said it was almost count time, 3:am, and I should go up to my room. I walked

      back to nly room in a daze, when I got there I held out m y hand and looked at the gum. I

      felt numb. I flushed the gum down the toilet and began c~ying.I felt so dirty and used. I

      was so ashamed. He then came to my room and asked me if I was all right and kissed

     me. B e said that he didn't mean it the way it sounded when he mentioned the semen. He

     'kept asking me if 1was all sigh;. 1-3oxice again made me feel like he i.eal:y c-a~edabout

     me. After that night, he subtly became more and more distant. I then began to see him

     with other women_involved in activities that he was ulrimately convicted of. I was

     devastated. He told me on several previous occasions that it would do me no good to tell

     anyone because no one would believe me, and I would end up being punished. Which is

     exactly what has happened.

  S) Around the middle of 2004, officer Dixen began working in F-unit. He would give me

     heipful hints and tips on exercising. Ai first he would help me with correct form and

     posture for weight lifting by placing his hands on my back and waist, ending or

     straightening me as need be. On occasion he would share some of his dinner with me.

     One night I went to his office and we were talking about abs, he began touching me abs,
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           showing me ~vhereand how the muscles separate and develop. The touching became

           more aggressive and wound up below my waist line; then the touching became even

           more intn~siveand he inserted his finger inside me, pulling my pants down. He also

           made me touch his penis, telling me where he wanted to place it. Hz told me to come

           back to his office later that night after count; but when I didn't come back, he was upset.

           Some months later, officer Spence came to my room and told me that officer Dixen was

           making extremely derogatory statemsnts regarding me, that I should stay away from him

          because he was "ox: to get me."

    9) That is something else the officers did, drag you t h r o u ~ hthe mud with certain officers

          and the other inmates, maldng them give you a hard time.

    10) Officer 1.Knight started harassing me in late 2004, early 2005. At first he would follow

          me in the kitchsn (dining hall): when he worked the compound. He would always stop

          me and pat me do~+n.After a while the pats became very uncomfortable, he would run

          his hands slowly over my body, my rib cage, under my bra, waist, stomach, hips, down

          my legs, then back up. It would always appear to be regllar procedxre: but it didn't feel

      . r e g u k . Sunltfrnes lit wiluld iiarc a metirl riekctor and cornmenis would be made by
,... ,~



          him about playing with sex toys. He worked 2 quarters in my unit (F-unit), back to back.

          He w-ould alw-aysbring me my mail to my room and sit and talk with ms. Whenever I

          would come into the unit he would stop me and pat me down. Then he would always tell

          me how much he liked touching my body. Sometimes when I would come out of the

          shower, he would be sitting in my room waiting for me. He would touch my legs and

          started going up higher. He always wanted me to touch his penis. Then he started

          talking about oral sex, and <hat's when I got really scared and 1 started trying harder to

          stay away from him. He would tell me that when I least expected it he would surprise me

          with arranging somehow to be alone with me, that I wouldn't h o i v when or where it

          would happen but it svould happen. He said that he had ways of mahng it happen. On
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     two occasions he sar in on a counseling meeting I used to h a w with Rlr. Bearbauml a

     counselor in the long timers' group I attended. I don't h o w if he was trying to

     intimidate me, or if he was letting me know that I couldn't get away from him. He would

     tell me bow the Lt.'s and Administrative staff always did what he wanted them to do, and

     how he would harass and tonnent &fferer.t inmates that "gave him a hard time" and how

     the staff would back him up.

 11) In hindsight, ir seems t h a ~the corrupI officers had a neh~:orkwithin the prison. They all

     seemed to know eve~yThingabout one another, and .ndvbichof the women were ~ o s :

    vulnerable. A conspiracy and collusion to see which one of them could out do the other

    with using and abusing the women.

 12) On January 10,2006, I was placed in the Special Housing Unit (SHU) in Tallahassee,

    under investigation. I was kept in the SHU for a full six months, (180 days), even after I

    cooperated fully and extensively, pertaining to the involvement of rhe three officers

    mentioned in this complaint, without complying with the proper procedures of due

    process.

i 5 j-Ai Grsi i dcr~iadariy involvcmcnt because i was afraid, ashamed and humiliated. Afraid

    of retribution from the officers involved; and afraid of being transferred away from my

    children, and punished. However, afier reflecting on what the investigators stated to me

    about being violated and raped, I finally began to cooperate completely with their

    investiga~ion.giving them sworn statements describing the abuses and the officers

    involved. I began cooperating with the investigation approximately three months before !

    was transferred to FDC Miami.

14) However, once it w2s discovered that I was nor involved in receiving any type of

    contraband; I was completely disregarded.

15) I fee! no less violated and raped by the process of the way this investigation was

    conducted, and by the way my transfer was made. as by the officers' taking advantage of
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     my >ulnerabi:ities of being incarcerated so many years, under their complete authoriry

     and control.

 16) My psychological and emotional needs were ignored until I was in FDC Miami; where 1

     was prescribed antianviery and antidepressants to medicate the emotional distress I am

     suffering.

     Even now, I an1 requesting to be treated by a psychologist, to no avail. I am no longer

     taking any medication, I need to receive psychological treatment in order to try and

     overcome what I am suffering as a direct result of this entire ordeal.

 15) I was transferred as a ruse, in the middle of the night, like some kind of major sting

     operation. That in itself was emotionally and psychologically devastating. Capriciously

    and arbitrarily decided, with complete deliberate indifference to the safety and well being

    of any of the women transfened, and without proper procedures of due process applied,

    in order to make it look like something was being done in response to the unfortunate and

    fatal shooting that occurred June 21,2006.

IS) I was then transfe~~ed
                        all the w-ay across the world to PC1 Dubiin, as a punishment. I w-ill

  . -never bc ablc io sct. my family so far away hom my home.

19) W-hile in the SHLr in Tallahassee, I was approached by hlr. George Williams, the SIS

    investigator in a manner that is inappropriate. 11s suggested that I would be released back

    out to the compound if I would "help" them, he also suggested for me to wear a wire

    while I was confined in the SHE; in order to get more information from the officers

    involved.

20) Both officers, E. Lavon Spence and 6.Dixen: worked the SKU while I was confined

    there; also placing me in a dangerous situation. V. Jolnson also worked the SHG a u r ~ n g

    the time I was ihere. He spoke witn me one day, telling me not to say anything about my

    involvement with any of the officers involved with why I was under investigntion. I sent

    Mr. George Williams 2 cop out telling him about the incident. I agreed to "help" them in
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     any way I could, but as I stated earjier, once it was discovered that I was not involved in

     any contraband, I was then totally disregarded and ignored.

 2 l j I was transfered to FDC Miami wifn 14 other women, "conveniently filling the magic

    number of 15; which happened to be the exact number of women in the indictment

     against the five remaining officers. That placed us in a very dangerous situation. It

     appeared that "we" were the witnesses that were actually part of the indictment. Which is

    exactly how we were treated once w-e were placed in F'DC Miami. We were gawked at,

    ridiculed, insulted, and trrateted with contempt; Sy o ~ h e in~iiates
                                                                 r       as well as the staff and

    officers at F'DC Miami.

22j The women that were in the indictment because of their involvement with receiving

    contraband were immediately transferred to camps and institutions closer to h e i r homes

    and families.

23j After the officers were convicted, the women also received sentence reductions as well as

    other various co~veniencesfor their cooperation.

24) Lynn Elartline, one of the witnesses, w-as given immediate release fiom FCI Dublin, on or

    about 41ay i2,4907. iVniie i am continuing ro be punished, unabie TO see my chiidreo,

    because I was sexually abused by the officers involved, but did not receive any

    contraband.

25j The warden, Ms. Rivera, treated iile with contempt and disregard. She was aware of

    everything that was happening? including the method of placing women back out on the

    compound after having been assaulted by these corrupt prison guards; in order to glean

    more evidence azainst them.

26) Captain Horton was the designated Segregation Review Ofticial (SRO) at that time,

   making h i n as culpable as the warden and the SIS Lt. George Williams. That is total

   delibzrate indifference and abuse of discretion on rhr part of the warden, George
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     Williams, and Captain Eorton. They didnot follow procedures set h~place for

     Administratix-e Detcntion.

 27) I filed a request through the Lnformation of Privacy Act, for all related documentation,

     and even filed in court far any information pertaining to being housed in SHU under

     investigation, all to no avail. The response to the agency of Information was that I was

    not under any investigation.

28) The Director of the Bureau of Prisons has also demonstrated gross deliberate

    i~~difference,
                ar,d abuse of discretion regarding the overall circumstances. Unfortunately,

    these methods of grossly abusing the due process are widely used in prisons.

29) I wrote directly to the Director, Mr. Lappin, concerning everything that has taken place,

    and he chose to disregard my plea for intervention and help.
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      VI.      STATEMEhT OF CLAMS:

      30) 18 U.S.C. 2241: Aggravated sexual abuse; 18 U.S.C. 2242: Sexual abuse; 18 U.S.C.

            2243: Sexual abuse of a minor or   a;
                                                18 U.S.C. 2244: Abusive sexual conduct: (a) By

            force or threat. Whoeyver, in the special maritime and tantorial jurisdiction of the U.S. or

            in a "Federal Prison," knowingly causes ar.other person to engage in a sexual act - (1) by

            using force against that other person; or (2) by threatening or placing that other person in

            fear that any person will be subjected to deatb, serious bodily injuryl or kidnapping; will

            be subjected. . .

      3 1) Corrections officer u.as not entitled to qualified immunity n-ith respect to prisoner's 42

            U.S.C. 1953 Eighth Amendment claim alleging that officer sexually assaulted and

            harassed prisoner because any reasonable prison official would have known that to try to

            hrce unwanted and prohibited sexual act on inmate was objectively unreasonable and in

            violation of inmate's rights. U.S.C.A. Const.Amend. 8; 42 U.S.C.A. 1982. See

         v. District
         -        -  of Columbia
                          -      887 F.Supp.     1.

      32) U.S.C.A. Const.Amend. 5; 18 U.S.C. (182 Ed.) 4082: Although federal prison authorities

-'.      iravr bide rarlgirlg discretion to determine inmate's piace ofconfinemenr, warden's

         decision may be subject to reversal if it constitutes ail "abuse of discretion" or an

         unlawful "deprivation of a right protected by ihe due process clause."

  33) Policy Statement 5250.07: 2. Protection cases; CFR 541.23: [c. Ordinarily, staff may

         place an inmate in Administrative detention as provided in paragraph (a) of their rule

         relating to protection cases, for a period not to exceed 90 days. Staff shall clearly

         document in ine record the reasons for any extension beyond this 90-day period.]

         inmates in Categories a (1-5) of f h i ~section (on protection cases) are not to be extended

         beyond 90 days mless there are exceptional circumstances and approval is obtained from

         the appropriate Regional Correctional Sen-ices Administrator. [d. Where appropriate,

         staff shall first attempt ro place the inmate in the general population of their particular
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     facility. Where inappropriate, staff shall clearly document the reason(s) and refer z'5e

     case, wiil all relevant material, to their Regional director, who, upon review of the

     material, may order the transfer of a protection case.]

 34) Captain Horton w-as the designated Segregation Revien- Official (SRO) at that time;

     making him as culpable as the warden and the SIS Lt. George Williams.

 35) Fourteenth Amendment: prohibits the deprivation of liberty or property without due

     process of law-.

 36) Thi~teenth-4nendment: Ssither slave3 nor involuntary servihde, except as a

     punishment for crime whereof the party shall have been duly convicted: shall exist within

     the United States, or any place subject l o theirjurisdiction.

 37) The plaintiff was not convicted nor charged with any crime; yet she was unjustly

     transferred to FDC Miami. then ultimately to FCI Dublin. The punishment being in

     relation to the FDC status, which is a lock dolvn detention facility, and the distance from

     her home and family. Par: of the inmate custody scoring system involves the inmates

     involvement with outsideresources, i.e., family and commumty ties.

 36) The Bureau ol'Frisons is heid liable according to 19 U.S.C. 4042: Duties of the Bureau of

    Prisons: (a) In general.   -   The Director of :he Bureau of Prisons, under the direction of

    the Attorney General, shall - (1) Have charge of the management and regulation of all

    Federal penal and correctional instin~tions;(2) provide suitable quarters and provide for

    the safe keeping, care and subsistence of ail persons charged with or convicted of

    offenses against the United States, or held as witnesses or otherwise: (3) p r o ~ i d efor the

    protection, instiuction, and discipline of all persons charged with or convicted of offenses

    agains: the United States; (4) provide technical assistance to State and local government

    in the irnprovement of their correctional systems; and (5j provide notice of release of

    prisoners in accordance with sibsections (b) & (c).
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  39) Deliberate Indifference: under this standard an official or municipaliv acts w-~th

      deliberate indifference if its conduct (or adopted policy) disregards a known or obvious

     risk that is very likeiy to result in rhe violation of a prisoner's constitutional rights.

     Hovater v. Robinson, 1 F.3d 1063, see also Hellinq v. McKinnev, 125 L.Ed.2d 22.

 40) The u-arden, the Captain, and George Williams, all acted with con~pletedeliberate

     indifference in using the w-omen at FCI Tailahassee, after discovering w-e had already

     been sexually abused and violated, in order to try to further incriminate the corrupt

     officers under investigation by requesting, and in some cases placing, the ;vornen back

     out on the compound to glean more evidence.

 41) U.S.S.G. Revision 191.13: Upon motion of the Director ofthe Bureau ofPrisons under

     18 U.S.C. 3582(bj(lj(A); the court may reduce a term of imprisonment if, after

     considering the factors set forth in 18 U.S.C. 3582(a), to the extent that they are

     applicable, the court determines that- (l)(A) extraordinary and compelling reasons

     w-axant the reduction; or (2) the defendant is not a danger to the safety of any other

     person or to tine comnlunity, as provided in 18 U.S.C. 3562(g) . . . I wrote directly to the

     Direcror of t;ze Bureau of Prisons, he chose to disregard my plea for intervention.

     **Even if the conduct is other+& prohibited, the failure of the BOP, the w-arden, and her

     staffto safeguard against known unconstitutional conduct may amount to a tacit zpproval

     of the conduct. See Women Prisoners of the District of Columbia Deu't of Corrections v.

     n.c.   877 ~ . S u p pat. 662.

 471 Prison Policy Nos. 493.18.01 and 493.18.03 provide set regulations for the criteria of

    placing and scofing inmates. There are rules that are put in place to be follow-ed. No

    policy was follow-ed in the manner in which they transferred us to FDC Miami. The

    faciliQ itself a-as nor prepared to receive the 15 women that were sent to them

    unexpectedly.
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 43) Retaliation for reporting complaints of: assisting any individual in making a report of, or

     cooperating in an investigation of sexual harassment, regardless of the merits or the

     disposition of the underlying complaint. Xetaliatory conduct includes the following

     actions talien against a prisoner in response to that prisoner's complaint of sexual

     harassment   ;   . . : disciplining, changing work or program assigmcents of. transfeng      to

     another facility or; placing under involuntary protective custody any prisoner. Thus due

     process rights were 7lolated. See: Women Pr~soners,877 F.Supp. 662; Prison Policy

     Xos. 493.18.01 and493.18.03.

 44) IS U.S.C. 4042: Prison authorities have u<de discretion to decide on appropriate methods

     of handling their wards, m         h discretion 1s not unlimited and. if uaramount federal

     constitutional or statutow riehts come in to d a y . prison regulations must confom to

     m. See Hathews v. Hardy 420 F.2d 607.
 45) Due Process violation: Plaintiff asserts that the decision to transfer her to FDC Miami,

     and the method in which it was done, was arbitrary, capricious, and politically motivated.

     She also contends that the decision deprived her of a constitutionaliy protected liberty

     interest ~viinoutdue process of law.

46) The warden, the captain, and the SXS Lt. George Williams: abused their authority and

     discretion, unlawfully depriving the plaintiff of a right protected by the Due Process

    Clause.

47) Furrher violation occurred when the plaintiff was ultimately transferred to FCI Dublin,

    which is so far away from her home and family that she ul11 never be able to see her

    children as long as she remains there.

48) Policy Statement 5100.07 (7)(b): Trsnsfer to a facility in an area other than the inmate's

    legal residence or sentencing district. This provision is meant to insure the inmate will

    remain close to her family and conmunity ties, so as to assist in the rehabilitation

    process.
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  49) Tbe distance of her transfer has proven to be an additional p u n i s h ~ e nio
                                                                                   t her. Procedures

      were arbitrary and capricious, rendering them Constitutionally deficient.

  50) Prison officials "cannot avoid their due process responsibilities simply by relabeling the

     punishments imposed on prisoners." See Tavlor v. C            w 433 F.Supp. 585.

 51) 42 U.S.C. 198 1: Equal rights under the law; All persons within the jurisdiction ofthe

     U.S. shall have the same right in evely State and territory to make and enforce contracts

     to sue; be parties, give evidence, and to the full and equal benefit of all laws and

     wceedinqs for the securitv of persons and properw as is enioved bv,           The plaintiff

     was discriminated against when she was not given the same opportunity to be a witness

     for being sexually abused by the prison guards convicted of corrupt and unlawful

     activities as ihe women that were gven the opportunity to testify regarding their

     involvement. Which were also granted the "benefits of all laws" of said proceedmgs.

 52) 42 U.S.C.S. 1981 is used as parallel basis with 42 U.S.C.S. 1983 and 2000e-5 for relief

     from "disparate treatment" in   [I elements of violation are identical &?th those of 1983
     and 2000e-5, and in such cases intent purposefuliy to discriminate should be inferied

     ur1dt.r 198i aiid 2irOOt.-5.

 5 3 ) Plaintiff was discriminated against when they chose not to acknowledge her involvement

     and testimony in tke case against the officers' trial. Tne plaintiff was sexually abused

     and assaulted. Her constirutional rights were and are continuing to be grossly violated by

     the way she has been and, is continuing to be disregarded.

 54) U.S.C.A. Const.Amends. 5, 14,42 U.S.C. 1981: Threshold inquiry in evaluating equal

     protection claim is to determine whether person is similarly situated to those persons who

    aiiegedly received favorabie treatment. The plairtlff was not treated equally to those

    wuinen suffering less of the same violations, or involvement; because there involvement

    also included receiviig illegal contraband of alcohol, drugs, perfume, various articles of

    clothing, etc. Making their testimony more appealing to the prosecutor and investigator.
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      These women have gotten immediate release, i.e., Lynn Bartiine: and various additional

      favorable treatments.

  55) Emotional, Psychological distress, mental pain and anguish. Plainiiff s 8"' .-\mendment

     rights were also violated by her 180 days in involuntary confinement, she suffered severe

     mental pain and anguish, as well as psycholo~caland emotional distress.

 56) She is also suffering from the emotional distress of the knowledge that she will never be

     able to see her family being housed in California, so far away from her home and family.

 57) U.S.C.A. Const.Pmmd. 8: Severe or repetitive sexual abuse of inmate by prison officer

     may be "objectively, sufficiently serious" enough to constitute Eight Amendment

     \lolation; as sexual abuse may violate contemporary standards of decency and can cause

     severe physical and psychoiogical h a ~ m .See, Women Prisoners v. District of Columbia

     93 Federal Reporter, 3d Series, 910.

 58) U.S.C.A. Const..hend. 8. Sexual abuse of prisoner by corrections officer has no

     legitimate penological purpose and is not part of penalty that criminal offenders pay for

     offenses against society; thus, the abuse itself may be sufficient evidence of culpable state

    ufnliud to l n t t l sibjti-iivt eierneni of itsi of Eighth h c n d n i t i i l violation, eveii willluui

     considesng what mens rea is necessary to show "wnnton" state of mind for claim of

     sexual abuse. Women Prisoners v. Dishkt of Columbia. at 9 10.

 59) Liberty interests protected by Due Process Clause: The touchstone of due process is

     protection of the individual against arbitrary action of government, see Dent v. West

     Virginia, 129 U.S. 114, 32 L.Ed 623.

 60) The coercive nature of [officers] duties exerts compelling pressures on inmates which

    undermine their free will. See W v . Goord, 48i F.Supp. i40, 172 (an i~lmatemight

    feel compelled to perfo~msexual iivors for correction officers in order to be on the

    officer's "good side"    . . . which is . . . quid pro quo behavior [that] is inappropriate,
    despicable and serves no legitinlare penological purpose.
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  61) I*.    illmare: by definition, relinquishes her liberty and suhmits herself to the control of

       guards and other officials in similar roles. See &
                                                        h        v. Cochran 216 F.Supp.2d 1286.

 62) Infliction of emotional disrress: As a matter of iaw, me prison guards' conduct rises to

       the level of extreme and outrageous conduct under Eddy v. Brown, 1986 OK 3, 715 P.2d

       74 (OMS. 1986). The prison guards' activity of demanding sexual relations with the

       inmates in order for them to be granted exh-a privileges was so egregious and outrageous

       that it goes beyond the bounds of common decency and is utterly intolerable. S e e m

       v. Cockan 216 F.S~tpp.2d1286.

 63) Temporal proximity alone may be significant enough to constitute indirect evidence of a

       casual connection so as to create an inference of retaliatory motive in an inmate's 1983

      action against a correctional officer. See Muhammad v. Close C.A. 6 2001. 379 F.3d

      413.

 64) Atypical and significant hardship, see Smdin v. Comor 132 L.Ed 2d 418.

 65) Retaliatory Transfer, see Nei v. Docley 372 F.3d 1003, also-0                          300

      F.Supp. 2d 1738.

 66j Conspiracy and coliusion: Aii of the officers invoived h e w what was going on with aii

      of the women involved, including myself. Not until officer Spence took advantage of me

      did the officers begin to approach me in any way. Even a statement by George Williams

      and the OIG officer, Jefi'Brumer. suggested such a conspiracy. They stated: "there was

      a hand full of officers covering up for: and protecting one another."

 67) Courts have repeatedly recognized that because no legitimate law enforcement or

     penalo5cal putpose can be inferred by the sexual abuse by a prison official, the

     sufficiently culpabie state of mind is present to violate the prisoner's constitutional rights.

     A-tions that demonstrate the use of excessive force sufficiently prevalent to demonsrrate

     a pattern which resulted in alleged injuries that are objectively "harmful enough" to

     imp1icat.e the Constitution. See Hudson v. McMillian, 117 L.Ed.2d 156, "deprivztion
Case 4:07-cv-00363-RH-WCS Document 36 Filed 03/17/08 Page 17 of 18



        which amounts to a wanton and unnecessary infliction of pain . . . [physical and mental] .

         . . which is so malicious that it violates contemporary standards of decency . . . "-\

        Prisoners v. District of Columbia 877 F.Supp. 634, 664-65.

  68) The Supreme Court has reiterated that "inmates retain those First Amendment rights [and

        other constitutional rights! that are not inconsistent with [their] status as prisoner[s]."

        Pel1 v. Procunier. 41 L.Ed.2d 495, following this line of reasoning the Tenth Circuit held
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        in Hovater v. Robinson: 1 F.3d 1063, that "an inmate has a constitutional right to be

        secure in her bodily integrity and free from attack by prison g~ards."Id. At 1068.

 69) Along with recognizing a constitutional violation of Eighth Amendment rights, the court

        recognizes an additional violation of federal law. 42 U.S.C. 1983 "authorizes suits

        azainst State and local officials based upon federal statutory as well as constitutional

        rights." 122 Cong.Rec. 35122 (1976). "A general constitutional rule already identified

        in the decisional law may apply Lvirh obvious clarity to the specific conduct in question,

        even though t l ~ cvery action in question has not previously been held unlawfd." u e d

        States v. Laniel-, 520 U.S. 259, 137 L.Ed.2d 432 (1997).
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 :u,                                                                                             f be
        Li oidei- to siovivr uiohoa lo dis~tlissfor failure to state ciaim upor: which ~ e l i c can

        granted, plaintiffmust assert cog.izable claim and allege facts that, if m e , wouid support

        claim; in evaluatlhg whether these requirements are met, comvlaints orepared pro se are

        held io less stringent standards than formal oleadincs drafted bv lawvers. FedRules

        C~v.Proc.Rule12(b)(6), 28 U.S.C.A.
  Case 4:07-cv-00363-RH-WCS Document 36 Filed 03/17/08 Page 18 of 18



     VII. RELIEF REQLXYTED:

     71) Lost wages for time in the SHU and jn transit of                 $           3:263.80

     72) Compensatory damages of                                          $        725,000.00

     73) Punitive damages of                                              5        725,000.00

     74) Declaratory relief

     75) Equitable relief

     76) Relief in prison term according to U.S.S.G 1B1.13

     77) Transfer to 2 facility clcser to heme and family.



          I DECLARE UNDER PENALTY OF PERJURY TEAT TED3 FOREGOING
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                            Date                                         Signature of Plaintiff


        I declare (or certify, verify, or affirm) mder penalty of per~~rry         that this complaint was
delivered to prison officials for mailing on: thc !$?&dayof i n l i l i ~ i , L -I-!:%
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       Litigation is deemed CLLED at the time it was delivered to prison Authorities.
See: Houston v. Lack 101 L.ed.2d 245 (1988).




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